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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF RHODE ISLAND


  STATE OF NEW YORK, et al.,

                  Plaintiffs,

          v.                                                C.A. No. 1:25-cv-00039

  DONALD TRUMP, in his official capacity as
  President of the United States; et al.,

                  Defendants.


         PLAINTIFFS’ OPPOSITION TO MOTION TO RECONSIDER OR STAY

        Defendants ask the Court to reconsider its April 4, 2025, order granting Plaintiff States’

 motion to enforce the preliminary injunction or, alternatively, stay it pending appeal, contending

 that the Supreme Court’s opinion in Department of Education v. California, No. 24A910, 2025

 WL 1008354 (Apr. 5, 2025) (per curiam), “plainly vindicates the government’s position in this

 case,” ECF No. 175 at 1. Defendants’ motion fails for multiple reasons and should be denied.

        A.      The motion to reconsider should be denied.

        Defendants’ motion to reconsider should be denied for at least two independent reasons: It

 is procedurally improper, and it fails on the merits.

        First, although defendants style their motion as requesting reconsideration of the Court’s

 April 4 order granting Plaintiff States’ motion to enforce the preliminary injunction, ECF No. 175,

 it is in fact a collateral attack on the preliminary injunction itself, and it should be denied on that

 basis. Defendants assert that the Supreme Court’s stay opinion in Department of Education shows

 that the Court “lacks jurisdiction” over Plaintiff States’ APA claims against FEMA. ECF No. 176

 at 3-4. But that argument goes to the preliminary injunction itself, not to the Court’s April 4 order


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 enforcing it. Defendants do not argue, for instance, that the Court erred in concluding that FEMA’s

 conduct falls within the scope of the Court’s injunction, or that Department of Education bears in

 any way on that question. Their argument is simply that any dispute over FEMA’s conduct must

 be addressed “under the Tucker Act through lawsuits in the Court of Federal Claims.” Id. at 4.

 That argument goes not to the question whether FEMA’s conduct violates the injunction; it goes

 to the merits of the injunction itself.

         Thus understood, defendants’ request is flawed on multiple levels. For one, defendants

 never argued in opposing the motion for a preliminary injunction that this case belongs in the Court

 of Federal Claims—indeed, they devoted not a single word of their 71-page brief to that claim. See

 ECF No. 113. Defendants thus cannot resuscitate that argument now via a motion to reconsider a

 later-entered order. Cf. Martinez-Lopez v. Holder, 704 F.3d 169, 173 (1st Cir. 2013) (“Common

 sense suggests that there should be reasonable limits on how far down the road a party can go and

 still be permitted to change horses in hopes of finding a swifter steed.”). Regardless, defendants

 cannot attack the preliminary injunction at this stage, because they have appealed it, and the Court

 lacks jurisdiction to modify it. See Griggs v. Provident Consumer Disc. Co., 459 U.S. 56, 58

 (1982). In the meantime, defendants must comply with the preliminary injunction, whether they

 agree with it or not. W.R. Grace & Co. v. Loc. Union 759, Int’l Union of United Rubber, Cork,

 Linoleum & Plastic Workers of Am., 461 U.S. 757, 766 (1983).

         Second, and separately, reconsideration is not warranted on the merits, because Department

 of Education plainly does not “vindicate[] the government’s position in this case.” ECF No. 176

 at 1. As explained below, the Supreme Court’s order rests primarily on its characterization of the

 temporary restraining order issued by the district court as one which “‘enforce[d] a contractual

 obligation to pay money.’” See 2025 WL 1008354, at *2. But Plaintiff States’ claims here cannot



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 plausibly be characterized as an attempt to enforce contracts between them and the federal

 government or seek relief for their termination—which is presumably why defendants did not

 devote a single word of their 71-page response to Plaintiff States’ motion for a preliminary

 injunction to arguing that this action belongs in the Court of Federal Claims. See ECF No. 113.

 That basic distinction defeats defendants’ argument. 1

        Department of Education concerns the termination of grants it had awarded States to fund

 state teacher-preparation programs with terms and conditions memorialized in grant award

 notifications. Because of purportedly changed agency policy priorities, the new administration sent

 boilerplate letters formally notifying States that their awards had been terminated, citing to a

 regulatory provision. Id. at *1; see Oglesby Decl. 4, California v. U.S. Dep’t of Educ., No. 1:25-

 cv-10548 (D. Mass. Mar. 12, 2025) (Doc. 55-1). The recipient States sued, alleging that the

 termination of the grants violated the APA in multiple respects, including because the Department

 was not authorized to terminate the grants for the reasons given. California, 2025 WL 878431, at

 *2. The district court granted a temporary restraining order enjoining the terminations, and the

 Department appealed and sought a stay pending appeal, which the First Circuit denied. Id. at *1.

 The Department sought emergency relief from the Supreme Court, which the Court granted by a

 vote of 5-to-4. Dep’t of Educ., 2025 WL 1008354, at *1. In the Court’s stay order, which was

 issued “with barebones briefing, no argument, and scarce time for reflection,” id. at *2 (Kagan, J.,

 dissenting), the Court stated that the Department was likely to show that plaintiffs’ APA claims



 1
   Plaintiff States also maintain that the Tucker Act does not impliedly preclude their assertion of
 the APA claims at issue in Department of Education, and those States that are also plaintiffs in
 that case intend to take that position in supplemental briefing there. Cf. Dep’t of Educ., 2025 WL
 1008354, at *10 n.7 (Jackson, J., dissenting) (explaining that the district court will “evaluat[e] this
 and other arguments in the context of the pending preliminary-injunction motion”). But this Court
 does not need to consider that argument here, because this case is distinct in almost every respect
 from Department of Education.
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 were impliedly precluded by the Tucker Act, which “grants the Court of Federal Claims

 jurisdiction over suits based on ‘any express or implied contract with the United States.’” Id. at *1.

 That was so, the Court indicated, because it thought that the district court’s order might ultimately

 “enforc[e] a contractual obligation to pay money.” Id. (internal quotation marks and citation

 omitted).

        Department of Education looks nothing like the current case. Although Plaintiff States here

 challenge defendants’ refusal to disburse federal funds, they do not challenge defendants’ decision

 to terminate any particular grant awards. Instead, Plaintiff States challenge defendants’

 implementation of “broad, categorial freezes on obligated funds” while deciding whether it would

 be lawful or appropriate to cease disbursing those funds altogether. New York v. Trump, No. 25-

 1236, 2025 WL 914788, at *12 (1st Cir. Mar. 26, 2025). 2 These broad, categorical freezes all have

 their origin in the first days of the administration, the OMB Directive, and the EOs directed at

 funding, not individual determinations about any individual agreement with the States, and

 therefore have no bearing on any contractual term or theory. And whereas the First Circuit in

 Department of Education stated that “the terms and conditions of each individual grant award”

 were “at issue,” 2025 WL 878431, at *2, here many of the funding streams compromised by

 defendants’ reckless behavior bear no hallmarks of contract at all. See, e.g., ECF 67 at 4-6.

 Moreover, here, the evaluation of Plaintiff States’ claims even with respect to those funds subject

 to grant agreements does not turn on what those agreements say or provide because Plaintiff States’

 have alleged, and provided evidence in support of the preliminary injunction to establish, that



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  This difference is reflected in the categorically different claims of harm to Plaintiff States in the
 two cases. Whereas a principal harm in Department of Education relates to denial of payment
 due to termination of grants, the harms here stem from delays in payments that Plaintiff States
 may later receive. See, e.g., ECF 67 at 60 (“Even a temporary delay in IIJA and IRA funding
 disbursement will cause Plaintiff States to sustain significant and irreparable injuries.”).
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 defendants’ categorical freezes were implemented without regard to any grant terms (or statutory

 or regulatory provisions). At bottom, whereas the Supreme Court in its stay order thought that the

 ultimate relief sought in Department of Education might be for the termination of contract-like

 agreements, here termination is not the issue, and, in many instances, there is no document at issue

 that could plausibly be considered a contract. Plaintiff States’ claims thus not only are not, “at

 [their] essence, . . . contract claim[s],” Megapulse, Inc. v. Lewis, 672 F.2d 959, 967 (D.C. Cir.

 1982); they do not resemble contract claims at all.

        Indeed, as discussed, supra p. 2, defendants never argued in opposing the injunction that

 Plaintiff States’ claims belonged in the Court of Federal Claims. ECF No. 113. That concession

 makes sense, given that Plaintiff States’ claims do not sound in contract. And it is consistent with

 the Department of Justice’s briefs in Department of Education, which repeatedly emphasize

 defendants’ view that the TRO at issue there purportedly “force[d] the federal government to keep

 paying on terminated contracts or grants.” Reply 7, Dep’t of Educ., 2025 WL 878431 (No.

 24A910); accord id. (asserting that “premise” of plaintiffs’ suit “is that the grants were wrongfully

 terminated”); id. at 9 (contending that plaintiffs’ case turns on “the terms and conditions” of the

 grants, “confirming the inescapably contractual nature of the dispute”). That is plainly not the case

 here: Plaintiff States’ claims do not target grant terminations, and the Court’s preliminary

 injunction turned in no way on an analysis of grant terms and conditions. It is thus unsurprising

 that defendants did not bring up the Tucker Act until their brief in opposition to Plaintiff States’

 motion to enforce, months into the litigation, and then only in one paragraph. ECF No. 172 at 3.

 Even then, defendants did not argue that any specific APA claim Plaintiff States have actually

 brought in this case is impliedly precluded by the Tucker Act; they argued only that, “depending

 on the specific terms and conditions of the relevant grant agreement,” Plaintiff States “may have



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 remedies available through contract actions in the Court of Federal Claims,” thus precluding them

 from asserting some hypothetical APA claim invoking those hypothetical grant agreements. Id.

 (emphasis added). 3 But defendants have never advanced any serious argument that Plaintiff States’

 APA claims here sound in contract in the manner that the Supreme Court thought the Department

 of Education plaintiffs’ claims may, and they make no serious effort to do so now. Defendants’

 motion to reconsider should be denied.

        B.      The motion to stay should be denied.

        Defendants also seek, in the alternative, a stay pending appeal. ECF No. 176 at 4. That

 request can be denied for the reasons set out above: not only is the motion procedurally improper,

 but Department of Education has no bearing here, so there is no likelihood defendants would

 succeed in establishing on appeal that the Court erred in ordering FEMA to comply with the

 preliminary injunction, as is required for a stay. Supra pp. 2-4; Bos. Parent Coal. for Acad.

 Excellence Corp. v. Sch. Comm. of City of Bos., 996 F.3d 37, 44 (1st Cir. 2021). That alone is

 enough to reject defendants’ request for a stay.

        But defendants’ alternative request can also be denied for a second and independent reason:

 the Court’s April 4 order enforcing its prior preliminary injunction is not appealable. An order

 enforcing a previously issued injunction is plainly not an appealable final judgment. See 28 U.S.C.

 § 1291. And although an order granting an injunction is appealable on an interlocutory basis, id.

 § 1292(a)(1), defendants have already appealed the Court’s injunction, see ECF No. 162, and the




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   Defendants fault the Court for failing to “address the argument that seeking grant-specific relief
 from this Court in an APA suit was inappropriate.” ECF No. 176 at 2. But the Court had no need
 to address an argument couched in multiple layers of hypothetical. Regardless, as explained,
 Plaintiff States do not “seek[] grant specific-relief,” id.; rather, Plaintiff States have consistently
 sought to remedy defendants’ sweeping and reckless decisions to freeze federal funds authorized
 by Congress across the length and breadth of the federal government.
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   First Circuit has set a briefing schedule on that appeal. Nor is the April 4 order appealable on any

   other basis: It did not “modify[]” the injunction, but simply enforced it according to its terms, id.,

   and an order enforcing an injunction against a party is not appealable on an interlocutory basis,

   and instead must be addressed on appeal after final judgment, see Fox v. Cap. Co., 299 U.S. 105,

   106-07 (1936); 11A Wright et al., Federal Practice and Procedure § 2960 (3d ed. 2013) (such an

   order “is interlocutory and, as applied to a party to the litigation, an appeal is not available until

   there is a final judgment in the entire action”). Again, defendants cannot use the unappealable

   enforcement order to raise unpreserved and meritless arguments about the preliminary injunction

   order—which is already on appeal.

                                             CONCLUSION

           For the foregoing reasons, Plaintiff States respectfully request that the Court deny

   defendants’ motion for reconsideration.



   Dated: April 6, 2025                           Respectfully Submitted,

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